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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA


  KANE BROLIN,                                                Civil Action No. 3:25-cv-00369

                          Plaintiff,                          COMPLAINT FOR DECLARATORY
                                                              AND INJUNCTIVE RELIEF
           v.

  FIN & FEATHER, INC.,

                          Defendant.


   COMPLAINT FOR DECLARATORY AND PROSPECTIVE INJUNCTIVE RELIEF

          KANE BROLIN (“Plaintiff”), by and through undersigned counsel, seeks a permanent

 injunction requiring a change in FIN & FEATHER, INC.’s, (“Fin & Feather” or “Defendant”)

 corporate policies to cause its digital properties to become, and remain, accessible to individuals

 with visual disabilities. In support thereof, Plaintiff respectfully asserts as follows:

                                          INTRODUCTION

          1.     This action arises from Defendant’s failure to make its digital properties accessible

 to legally blind individuals, which violates the effective communication and equal access

 requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

 12189.

          2.     It is estimated that 2.3 percent of the American population lives with some sort of

 visual disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

 American Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute (YTI),

 available at https://www.disabilitystatistics.org/acs/1(last accessed April 25, 2025).

          3.     For this significant portion of Americans, accessing digital platforms, mobile

 applications, and other information via their computers and smartphones has become critical,


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 especially in the post-pandemic era. Since the pandemic, U.S. e-commerce has continued to grow,

 with 12 million new users choosing to shop online since 2020. 1 According to a recent study, e-

 commerce increased by 25% from $516 billion (11.1% of total retail sales) to $644 billion (14.2%

 of total retail sales). 2 This underscores the importance of access to online retailers.

         4.       During these challenging times, disabled individuals rely heavily on acquiring

 goods and services from the internet. With more businesses choosing to market their goods and

 services on their online platform, access to the website is vital. Sir Tim Berners-Lee, the founder

 of the World Wide Web, wrote, “The power of WWW is in its universality. Access by everyone

 regardless of disability is an essential aspect.” 3

         5.       At the same time, the share of Americans who own smartphones has climbed from

 just 35% in 2011 to 81% in 2019—amounting to more than 265 million people in the United States.

 See    U.S.     Census     Bureau,    U.S     and         World     Population      Clock,    available   at

 https://www.census.gov/popclock/ (last accessed April 25, 2025) (U.S. population on June 12,

 2019 was 325.4 million).

         6.       In this climate, it is especially important to consider factors that can facilitate or

 impede technology adoption and use by people with disabilities. National Council on Disability,

 National      Disability   Policy:   A    Progress         Report    (Oct.     7,   2016),    available   at




 1
    See Statista, Number of users of e-commerce in the U.S. 2018-2027, available at
 https://www.statista.com/statistics/273957/number-of-digital-buyers-in-the-united-states/ (last
 accessed April 25, 2025).
 2
   See National Library of Medicine, Online shopping continuance after COVID-19, available at
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9379614/ (last accessed April 25, 2025).
 3
   See Forbes, Covid Reminds Us That Web Accessibility Helps All Users, Not Just The Disabled,
 available at https://www.forbes.com/sites/gusalexiou/2020/08/23/covid-reminds-us-that-web-
 accessibility-helps-all-users-not-just-the-disabled/?sh=6b67ed7a6df1 (last accessed April 25,
 2025).
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 https://www.ncd.gov/report/national-disability-policy-a-progress-report-october-2016/          (last

 accessed April 25, 2025).

         7.       Properly formatted, digital content is universally accessible to everyone. But when

 it is not, ineffective communication results. In those situations, legally blind individuals must

 unnecessarily expend additional time and effort to overcome communication barriers sighted users

 do not confront. These barriers may require the assistance of third parties or, in some cases, may

 deny outright access to the online service.

         8.       Screen access “software translates the visual internet into an auditory equivalent.

 At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

 Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

         The screen reading software uses auditory cues to allow a visually impaired user to
         effectively use digital platforms. For example, when using the visual internet, a
         seeing user learns that a link may be “clicked,” which will bring his to another
         webpage, through visual cues, such as a change in the color of the text (often text
         is turned from black to blue). When the sighted user's cursor hovers over the link,
         it changes from an arrow symbol to a hand.

         The screen reading software uses auditory—rather than visual—cues to relay this
         same information. When a sight impaired individual reaches a link that may be
         “clicked on,” the software reads the link to the user, and after reading the text of
         the link says the word “clickable.”…Through a series of auditory cues read aloud
         by the screen reader, the visually impaired user can navigate a digital platform by
         listening and responding with his keyboard.

 Id. at *6-7. 4

         9.       Unfortunately, here Defendant fails to communicate effectively with Plaintiff

 because its digital properties are not properly formatted to allow legally blind users such as



 4
         See American Foundation for the Blind, Screen Readers, available at
 https://www.afb.org/node/16207/screen-readers (last accessed April 25, 2025) (discussing screen
 readers and how they work).
                                                   3
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 Plaintiff to access its digital content. Accordingly, legally blind customers such as Plaintiff are

 deprived from accessing information about Defendant’s products and using its online services, all

 of which are readily available to sighted customers.

        10.     The United States Department of Justice Civil Rights Division has provided

 “Guidance on Web Accessibility and the ADA.” 5 It states in part, “the Department has consistently

 taken the position that the ADA’s requirements apply to all the goods, services, privileges, or

 activities offered by public accommodations, including those offered on the web.”

        11.     This lawsuit is aimed at providing legally blind users like Mr. Brolin a full and

 equal experience.

                                                 PARTIES

        12.     Plaintiff Brolin is, and at all times relevant hereto has been, legally blind and is

 therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

 implementing the ADA set forth at 28 CFR §§ 36.101 et seq. Plaintiff was born with retinopathy

 of prematurity which caused his blindness. Plaintiff uses an iPhone with VoiceOver to navigate

 the internet, as well as a Windows personal computer with the JAWS screen-reading application.

 Plaintiff is, and at all times relevant hereto has been, a resident of Mishawaka, Indiana.

        13.     Defendant is an Iowa corporation with its principal place of business located at 125

 Highway 1 W, Iowa City, Iowa 52246. Defendant is a leader in the design, development,

 manufacture, and distribution of outdoor, fishing and camping gear, apparel and footwear, and

 other related products under its recognized brand name Fin & Feather.




 5
     See ADA.Gov, Guidance on Web Accessibility and the ADA, available at
 https://www.ada.gov/resources/web-guidance/ (last accessed April 25, 2025) (“DOJ Guidance”).
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        14.      Consumers may purchase Defendant’s products and access other brand-related

 content and services at https://finfeather.com/ (“Digital Platform”), the Digital Platform Defendant

 owns, operates, and controls.

        15.      In addition to researching and purchasing Defendant’s products and services from

 the comfort and convenience of their homes, consumers may also use Defendant’s Digital Platform

 to contact customer service by phone and email, sign up to receive product updates, product news,

 and special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

 of Service, and more. 6

        16.      Defendant is responsible for the policies, practices, and procedures concerning the

 Digital Platform’s development and maintenance.

        17.      Because Defendant’s Digital Platform is not and has never been fully accessible,

 and because upon information and belief Defendant does not have, and has never had, adequate

 corporate policies that are reasonably calculated to cause its digital properties to become and

 remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks prospective injunctive

 relief requiring Defendant to:

              a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                 Consultant”) who shall assist in improving the accessibility of its Digital Platform,
                 including all third-party content and plug-ins, so the goods and services on the
                 Digital Platform may be equally accessed and enjoyed by individuals with vision
                 related disabilities;

              b) Work with the Web Accessibility Consultant to ensure all employees involved in
                 Digital Platform and content development be given web accessibility training on a
                 biennial basis, including onsite training to create accessible content at the design
                 and development stages;

              c) Work with the Web Accessibility Consultant to perform an automated accessibility
                 audit on a periodic basis to evaluate whether Defendant’s Digital Platform may be



 6
        See, e.g., Defendant’s Home Page, available at https://finfeather.com/.
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            equally accessed and enjoyed by individuals with vision related disabilities on an
            ongoing basis;

         d) Work with the Web Accessibility Consultant to perform end-user
            accessibility/usability testing on at least a quarterly basis with said testing to be
            performed by humans who are blind or have low vision, or who have training and
            experience in the manner in which persons who are blind use a screen reader to
            navigate, browse, and conduct business on Digital Platforms, in addition to the
            testing, if applicable, that is performed using semi-automated tools;

         e) Incorporate all of the Web Accessibility Consultant’s recommendations within
            sixty (60) days of receiving the recommendations;

         f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
            that will be posted on its Digital Platform, along with an e-mail address, instant
            messenger, and toll-free phone number to report accessibility-related problems;

         g) Directly link from the footer on each page of its Digital Platform, a statement that
            indicates that Defendant is making efforts to maintain and increase the accessibility
            of its Digital Platform to ensure that persons with disabilities have full and equal
            enjoyment of the goods, services, facilities, privileges, advantages, and
            accommodations of the Defendant through the Digital Platform;

         h) Accompany the public policy statement with an accessible means of submitting
            accessibility questions and problems, including an accessible form to submit
            feedback or an email address to contact representatives knowledgeable about the
            Web Accessibility Policy;

         i) Provide a notice, prominently and directly linked from the footer on each page of
            its Digital Platform, soliciting feedback from visitors to the Digital Platform on how
            the accessibility of the Digital Platform can be improved. The link shall provide a
            method to provide feedback, including an accessible form to submit feedback or an
            email address to contact representatives knowledgeable about the Web
            Accessibility Policy;

         j) Provide a copy of the Web Accessibility Policy to all web content personnel,
            contractors responsible for web content, and Client Service Operations call center
            agents (“CSO Personnel”) for the Digital Platform;

         k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
            users with disabilities who encounter difficulties using the Digital Platform.
            Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
            such users with disabilities within CSO published hours of operation. Defendant
            shall establish procedures for promptly directing requests for assistance to such
            personnel including notifying the public that customer assistance is available to
            users with disabilities and describing the process to obtain that assistance;



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              l) Modify existing bug fix policies, practices, and procedures to include the
                 elimination of bugs that cause the Digital Platform to be inaccessible to users of
                 screen reader technology;

              m) Plaintiff, his counsel, and their experts monitor the Digital Platform for up to two
                 years after the Mutually Agreed Upon Consultant validates the Digital Platform is
                 free of accessibility errors/violations to ensure Defendant has adopted and
                 implemented adequate accessibility policies. To this end, Plaintiff, through his
                 counsel and their experts, shall be entitled to consult with the Web Accessibility
                 Consultant at their discretion, and to review any written material, including but not
                 limited to any recommendations the Digital Platform Accessibility Consultant
                 provides Defendant.

        18.      Digital platforms have features and content that are modified on a daily, and in

 some instances an hourly, basis, and a one time “fix” to an inaccessible digital platform will not

 cause the digital platform to remain accessible without a corresponding change in corporate

 policies related to those web-based technologies. To evaluate whether an inaccessible digital

 platform has been rendered accessible, and whether corporate policies related to web-based

 technologies have been changed in a meaningful manner that will cause the digital platform to

 remain accessible, the digital platform must be reviewed on a periodic basis using both automated

 accessibility screening tools and end user testing by disabled individuals.

                                   JURISDICTION AND VENUE

        19.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

 pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

        20.      Defendant participates in the State’s economic life by performing business over the

 Internet. Through its Digital Platform, Defendant entered into contracts for the sale of its products

 and services with residents of Indiana. These online sales contracts involve, and indeed require,

 Defendant’s knowing and repeated transmission of computer files over the Internet. See Hetz v.

 Aurora Med. Ctr. of Manitowoc Cnty., No. 06-C-636, 2007 U.S. Dist. LEXIS 44115, at *6 (E.D.

 Wis. June 18, 2007).


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         21.     Plaintiff was injured when he attempted to access Defendant’s Digital Platform

 from his home in this District in an effort to shop for Defendant’s products but encountered barriers

 that denied him full and equal access to Defendant’s online goods, content, and services. Plaintiff

 Brolin had attempted to purchase the ‘Sidekick Sear.’ Unfortunately, he was unable to complete

 his purchase due to the accessibility barriers that exist on Defendant’s Digital Platform.

         22.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

 judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

 occurred.

                            FACTS APPLICABLE TO ALL CLAIMS

         23.     While the increasing pervasiveness of digital information presents an

 unprecedented opportunity to increase access to goods, content, and services for people with

 perceptual or motor disabilities, digital platform developers and web content developers often

 implement digital technologies without regard to whether those technologies can be accessed by

 individuals with disabilities. This is notwithstanding the fact that accessible technology is both

 readily available and cost effective.

                               DEFENDANT’S ONLINE CONTENT

         24.     Defendant’s Digital Platform allows consumers to research and participate in

 Defendant’s services and products from the comfort and convenience of their own homes.

         25.     The Digital Platform also enables consumers to contact customer service by phone

 and email, sign up to receive product updates, product news, and special promotions, review

 important legal notices like Defendant’s Privacy Policy and Terms of Service, and more.

         26.     Consumers may use the Digital Platform to connect with Defendant on social

 media, using sites like Facebook and Instagram.



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                                     HARM TO PLAINTIFF
        27.     Plaintiff attempted to access the Digital Platform from his home in Mishawaka,

 Indiana to purchase the ‘Sidekick Sear.’ Unfortunately, because of Defendant’s failure to build the

 Digital Platform in a manner that is compatible with screen access programs, Plaintiff is unable to

 understand, and thus is denied the benefit of, much of the content and services he wishes to access

 on the Digital Platform. The following are illustrative (but, importantly, not exhaustive) examples

 of a few of the accessibility barriers observed on the Digital Platform:

                a.      When the homepage on Defendant’s Digital Platform loads, two overlays

 are displayed. The first overlay reads “Get exclusive updates and offers!” and has a “Subscribe”

 button below the text. The second overlay reads “Have a question? One of our team members

 would love to help!” and has a ‘Text Us’ button below the text. Unfortunately, these overlays do

 not receive the screen-reader focus and are not announced to the screen-reader user. Instead, the

 screen-reader focus skips the overlays and remains on the underlying screen. The screen-reader

 user must swipe through every element displayed on screen, including the entirety of the footer,

 before the screen-reader focus finally arrives on the overlays. Furthermore, if the screen-reader

 user selects the “Subscribe” button, a form is displayed in which the user must fill out the form

 fields to complete the subscription process. Unfortunately, the form fields are not accessible to

 screen-reader users. For example, when the form fields are displayed, they do not receive the

 screen-reader focus and are not announced to the screen-reader user. Instead, the focus remains on

 the ‘Subscribe’ button which is announced. The result prevents the screen-reader user from

 receiving the “exclusive updates and offers” by preventing them from subscribing without sighted

 assistance.




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                b.      An image carousel is present on the homepage which cycles through several

 product images. However, this image carousel creates an accessibility barrier for screen-reader

 users. For example, every time the carousel cycles to a new image, the screen-reader user is

 interrupted with an announcement of “current step” regardless of their position on the page. The

 disruption hinders the screen-reader user’s ability to successfully navigate and comprehend

 Defendant’s Digital Platform. Furthermore, when the screen-reader navigates to the image

 carousel, only the slide that is currently displayed receives focus and is announced to the screen-

 reader user. After the image is announced, the screen-reader focus skips the navigational buttons

 for the carousel and moves directly to text underneath the navigation buttons. Additionally, several

 elements do not receive focus at all, such as the ‘Give Us A Call’ link and the ‘Facebook’ link.

 The result prevents the screen-reader user from accessing several elements on Defendant’s Digital

 Platform.




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                c.     Size charts are available on product pages which assist users in finding the

 appropriate size for the product the wish to purchase. Unfortunately, the size charts are not

 accessible to screen-reader users. For example, when the size chart is displayed, it receives the

 screen-reader focus but is initially announced as “image.” After a short pause, the screen-reader

 then begins to announce the content of the chart, but without any meaningful context. For example,

 the rows are announced all together without any reference to corresponding column. The result

 prevents the screen-reader user from comprehending the size chart without sighted assistance.


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        28.     These barriers, and others, deny Plaintiff full and equal access to all of the services

 the Digital Platform offers, and now deter him from attempting to use the Digital Platform to buy

 Defendant’s goods and services. Still, Plaintiff would like to, and intends to, attempt to access the

 Digital Platform in the future to purchase the products and services the Digital Platform offers,

 and/or to test the Digital Platform for compliance with the ADA.

        29.     If the Digital Platform was accessible, i.e. if Defendant removed the access barriers,

 Plaintiff could independently research and purchase Defendant’s products and access its other

 online content and services.

        30.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

 removing these existing access barriers. Removal of the barriers identified above is readily

 achievable and may be carried out without much difficulty or expense.

        31.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

 by Defendant’s failure to provide its online content and services in a manner that is compatible

 with screen reader technology.




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                                  SUBSTANTIVE VIOLATIONS

                                              COUNT I

                           Title III of the ADA, 42 U.S.C. § 12181 et seq.

         32.     The assertions contained in the previous paragraphs are incorporated by reference.

         33.     Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

 any place of public accommodation.

         34.     Defendant is bound by the regulations implementing Title III of the ADA, which

 require that places of public accommodation ensure effective communication to individuals with

 disabilities. 28 C.F.R. § 303(c). See also DOJ Guidance (stating “[s]ince 1996, the Department of

 Justice has consistently taken the position that the ADA applies to web content.”)

         35.     Mr. Brolin is legally blind and therefore an individual with a disability under the

 ADA.

         36.     Defendant’s Digital Platform is a place of public accommodation under the ADA

 because it is a “sales or rental establishment” and/or “other service establishment.” 42 U.S.C. §

 12181(7)(E), (F).

         37.     Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

 any place of public accommodation. 42 U.S.C. § 12182; 28 C.F.R. §36.201.

         38.     Defendant owns, operates, or maintains the Digital Platform.

         39.     The Digital Platform is a service, facility, privilege, advantage, or accommodation

 of Defendant.

         40.     Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

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 any place of public accommodation. See also DOJ Guidance (explaining “[b]usinesses open to the

 public must take steps to provide appropriate communication aids and services (often called

 “auxiliary aids and services”) where necessary to make sure they effectively communicate with

 individuals with disabilities.”)

         41.    Specifically, “[e]ven though businesses and state and local governments have

 flexibility in how they comply with the ADA’s general requirements of nondiscrimination and

 effective communication, they still must ensure that the programs, services, and goods that they

 provide to the public—including those provided online—are accessible to people with

 disabilities.” DOJ Guidance.

                      PRAYER FOR DECLARATORY JUDGMENT AND
                          PROSPECTIVE INJUNCTIVE RELIEF

        WHEREFORE, Plaintiff prays for:

        (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

 violation of the specific requirements of Title III of the ADA described above, and the relevant

 implementing regulations of the ADA, in that Defendant took no action that was reasonably

 calculated to ensure that its Digital Platform was fully accessible to, and independently usable by,

 individuals with visual disabilities;

        (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

 36.504(a) which directs Defendant to take all steps necessary to bring its Digital Platform into full

 compliance with the requirements set forth in the ADA, and its implementing regulations, so that

 its Digital Platform is fully accessible to, and independently usable by, blind individuals, and

 which further directs that the Court shall retain jurisdiction for a period to be determined to ensure

 that Defendant has adopted and is following an institutional policy that will in fact cause it to




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 remain fully in compliance with the law, including the specific prospective injunctive relief

 described more fully in paragraph 17 above.

          (C)   Payment of costs of suit;

          (D)   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

 § 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

 Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

 Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

 Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

 Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

 include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

 Now, Inc. v. LAX World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

          (E)   Payment of nominal damages;

          (F)   The provision of whatever other relief the Court deems just, equitable and

 appropriate; and

          (G)   An Order retaining jurisdiction over this case until Defendant has complied with

 the Court’s Orders in regard to the specific prospective injunctive relief described at paragraph 17

 above.

 Dated: April 25, 2025                      Respectfully Submitted,


                                                   /s/ Benjamin J. Sweet
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